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AAS:ANR
F.# 2021R00667

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA
                                                       ORDER
         - against -
                                                       22 CR 460 (KAM) (RML)
QUANZHONG AN, et al.

                       Defendant.

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                 Upon the application of BREON PEACE, United States Attorney for the Eastern

District of New York, by Assistant United States Attorney Alexander A. Solomon, for an order

(1) unsealing the indictment and arrest warrants in the above-captioned matter; and (2) de-

designating the indictment and arrest warrants in the above referenced case as Highly Sensitive

Documents (“HSDs”).

                 WHEREFORE, it is ordered that the indictment and arrest warrants in the above-

captioned matter be unsealed and no longer designated as HSDs and only the partially redacted

indictment be filed on the public docket. Additionally, it is ordered that the unredacted

indictment be unsealed for dissemination to defense counsel.


Dated:     Brooklyn, New York

           _________________, 2022


                                              Ramon E. Reyes, Jr. Digitally signed by Ramon E. Reyes, Jr.
                                                                  Date: 2022.10.21 12:34:25 -04'00'


                                             HONORABLE RAMON E. REYES, JR.
                                             UNITED STATES MAGISTRATE JUDGE
                                             EASTERN DISTRICT OF NEW YORK
